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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA
Plaintiff,

1. MORRIE TOBIN,

)
)
)
Vv. ) Criminal No. 18-10444-NMG
)
)
Defendant. )

ORDER OF FORFEITURE (MONEY JUDGMENT)
GORTON, D.J.

WHEREAS, on November 27, 2018, the United States Attorney for the District of
Massachusetts filed a two-count Information, charging defendant, Morrie Tobin (the
“Defendant”) and another, with Conspiracy to Commit Securities Fraud, in violation of 18
U.S.C. § 371 (Count One); and Securities Fraud, in violation of 15 U.S C. §§ 78j(b) and 78ff, 17
C.F.R. § 240.10b-5, and 18 U.S.C. § 2;

WHEREAS, the Information also included a forfeiture allegation, pursuant to 18 U.S.C.
§ 981(a)(1)(C) and 28 U.S.C. § 2461(c), which provided notice that the United States intended to
seek the forfeiture, upon conviction of the Defendant of the offenses alleged in Counts One and
Two of the Information of any property constituting, or derived from, any proceeds obtained,
directly or indirectly, as a result of the offense; and any property used in any manner or part, to
commit, or to facilitate the commission, of such offenses, the property to be forfeited includes,
without limitation, the following assets:

a. Defendant’s interest, if any, in any and all trading proceeds for the security
EPTI; and ,

b. $4,000,000 to be entered in the form of an Order of Forfeiture (Money
Judgment);
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WHEREAS, the Information further provided that, if any of the above-described
forfeitable property, as a result of any act or omission by the Defendant, (a) cannot be located
upon the exercise of due diligence; (b) has been transferred or sold to, or deposited with, a third
party; (c) has been placed beyond the jurisdiction of the Court; (d) has been substantially
diminished in value; or (e) has been commingled with other property which cannot be divided
without difficulty, the United States is entitled to seek forfeiture of any other property of the
Defendant, up to the value of such assets, pursuant to 21 U.S.C. § 853(p), as incorporated by 28
ULS.C. § 2461(c);

WHEREAS, on December 3, 2018, at a hearing pursuant to Rule 11 of the Federal Rules
of Criminal Procedure, the Defendant pled guilty to Counts One and Two of the Information,

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pursuant to a written plea agreement that he signed on November 26, 2644,

WHEREAS, in Section 9 of the plea agreement, the Defendant was advised the United
States will, upon acceptance of Defendant’s guilty plea, enter an order of forfeiture as part of
Defendant’s sentence, and that the order of forfeiture, which may be satisfied at any time prior to
sentencing, may include assets, directly traceable to Defendant’s offenses, substitute assets
and/or a money judgment equal to the value of the property derived from, or otherwise involved
in, the offenses, the assets to be forfeited specifically included, without limitation, the following:

a. Defendant’s interest, if any, in any and all trading proceeds for the security
EPTI; and

b. $4,000,000 to be entered in the form of an Order of Forfeiture (Money
Judgment);

WHEREAS, at the Rule 11 hearing, the Defendant admitted that $4,000,000 is subject to
forfeiture on the grounds it is at least equal to the amount of proceeds the Defendant obtained

(directly or indirectly) as a result of the offenses, separate and apart from the offenses involving
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the security EPT];

WHEREAS, the Defendant admitted that the proceeds, or property acquired as a result of
his crimes are no longer available for forfeiture, accordingly, Defendant agreed the United States
is entitled to forfeit as “substitute assets” any other assets of Defendant up to the value of the
now missing directly forfeitable assets in lieu of the $4,000,000;

WHEREAS, the Defendant agreed that the $4,000,000 Order of Forfeiture (Money
Judgment) shall not be offset by forfeiture of any proceeds of his interest, if any, in the security
EPTI;

WHEREAS, the Defendant further agreed, that prior to sentencing, to make a voluntary
payment of $4,000,000 to the United States Marshals Service, such payment to be used as
satisfaction of the agreed-upon $4,000,000 Order of Forfeiture (Money Judgment);

WHEREAS, based on the Defendant’s admissions in the written plea agreement and his

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guilty plea on December 3, 2649; the United States is entitled to forfeiture of Defendant’s
interest, if any, in any and all trading proceeds for the security EPTI; and an Order of Forfeiture
consisting of a personal money judgment against the Defendant, in the amount of $4,000,000,
pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c);

WHEREAS, the amount of $4,000,000 represents proceeds that the Defendant obtained
as a result of his violations as charged in the Information; and

WHEREAS, Rule 32.2(c)(1) of the Federal Rules of Criminal Procedure provides that “no
ancillary proceeding is required to the extent that the forfeiture consists of a money judgment.”

ACCORDINGLY, it is hereby ORDERED, ADJUDGED, and DECREED:

l. The Defendant shall forfeit to the United States the sum of $4,000,000, pursuant to

18 U.S.C § 981(a)(1)(C) and 28 U.S.C. § 2461(c).
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Zs This Court shall retain jurisdiction in the case for the purpose of enforcing this
Order.

3, The United States may, at any time, move pursuant to Rule 32.2(e) of the Federal
Rules of Criminal Procedure to amend this Order to substitute property having a value not to
exceed the amount set forth above to satisfy the money judgment in whole or in part.

4, The United States may, at any time, conduct pursuant to Rule 32.2(b)(3) of the
Federal Rules of Criminal Procedure and 21 U.S.C. § 853(m), as incorporated by 28 U.S.C.
§ 2461(c), any discovery to identify, locate or dispose of forfeitable property or substitute assets,
including, but not limited to, depositions and requests for documents, electronically stored
information, and tangible things.

5. Pursuant to Rule 32.2(b)(4), this Order shall be included in the sentence pronounced

and imposed by the Court at the sentencing hearing, and in the criminal judgment entered by this

NATHANIEL M. eed
United States District Judge
Dated: 6 5 [ ?

Court against the Defendant.
